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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

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                                                                               :
         In re:                                                                : Chapter 11
                                                                               :
         NORTEL NETWORKS INC., et al.,1                                        : Case No. 09-10138 (KG)
                                                                               :
                                                   Debtors.                    : (Jointly Administered)
                                                                               :

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                 NOTICE OF FILING OF COURTESY COPIES PURSUANT TO SECTION 12(d)
                OF THE CROSS-BORDER INSOLVENCY PROTOCOL OF DOCUMENTS FILED
                  IN THE CANADIAN PROCEEDINGS BY THE JOINT ADMINISTRATORS

                             PLEASE TAKE NOTICE that pursuant to section 12(d) of the Cross-Border

         Insolvency Protocol (as amended, the “Protocol”) [D.I. 990] approved in the above-captioned

         cases, and for the limited purposes provided by the Protocol, the court-appointed administrators

         and authorized foreign representatives (collectively, the “Joint Administrators”)2 for Nortel

         Networks UK Limited (“NNUK”) and certain of its affiliates (collectively, and including NNUK,

         the “EMEA Debtors”)3 located in the region known as EMEA (Europe, Middle East, and Africa)

         in proceedings under the Insolvency Act 1986, pending before the High Court of Justice of


         1
                  The Debtors in these Chapter 11 cases are: Nortel Networks Inc., Nortel Networks Capital Corporation,
         Alteon WebSystems, Inc., Alteon WebSystems International, Inc., Xros, Inc., Sonoma Systems, Qtera Corporation,
         CoreTek, Inc., Nortel Networks Applications Management Solutions Inc., Nortel Networks Optical Components
         Inc., Nortel Networks HPOCS Inc., Architel Systems (U.S.) Corporation, Nortel Networks International Inc.,
         Northern Telecom International Inc. and Nortel Networks Cable Solutions Inc.
         2
                 The Joint Administrators for all of the EMEA Debtors (as defined herein), with the exception of Nortel
         Networks (Ireland) Limited are: Alan Robert Bloom, Christopher John Wilkinson Hill, Alan Michael Hudson, and
         Stephen John Harris. The Administrators in the UK Proceedings for Nortel Networks (Ireland) Limited are: Alan
         Robert Bloom and David Martin Hughes.
         3
                 The EMEA Debtors are: Nortel Networks UK Limited; Nortel GmbH; Nortel Networks (Austria) GmbH;
         Nortel Networks (Ireland) Limited; Nortel Networks AB; Nortel Networks B.V.; Nortel Networks Engineering
         Service Kft; Nortel Networks France S.A.S.; Nortel Networks Hispania, S.A.; Nortel Networks International
         Finance & Holding B.V; Nortel Networks N.V.; Nortel Networks OY; Nortel Networks Polska Sp. z.o.o.; Nortel
         Networks Portugal S.A.; Nortel Networks Romania SRL; Nortel Networks S.A.; Nortel Networks S.p.A.; Nortel
         Networks Slovensko, s.r.o.; and Nortel Networks, s.r.o.
01:14644468.1

         YCST01:11138220.1                                                                            068476.1001
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         England and Wales, have filed in the above-captioned cases courtesy copies of the following

         documents (the “Documents”) that were submitted by the Joint Administrators in proceedings

         pending before the Ontario Superior Court of Justice (Commercial List) (the “Canadian

         Proceedings”):

                                   Affidavit of Fara Tabatabai
                                   Factum of the Joint Administrators for the EMEA Debtors

                             Copies of the Documents may be obtained through the docket maintained in the

         above-captioned cases at www.epiqsystems.com or by request to undersigned counsel. A joint

         hearing currently is scheduled to be held in the Canadian Proceedings and the above-captioned

         cases on January 7, 2014.

         Dated: Wilmington, Delaware              YOUNG CONAWAY STARGATT & TAYLOR, LLP
                January 3, 2014

                                                  /s/ Jaime Luton Chapman
                                                  James L. Patton (No. 2202)
                                                  Edwin J. Harron (No. 3396)
                                                  Jaime Luton Chapman (No. 4936)
                                                  Rodney Square
                                                  1000 North King Street
                                                  Wilmington, Delaware 19801
                                                  Telephone: (302) 571–6600
                                                  Facsimile: (302) 571–1253

                                                            - and -

                                                  HUGHES HUBBARD & REED LLP
                                                  Derek J.T. Adler
                                                  Neil J. Oxford
                                                  One Battery Park Plaza
                                                  New York, New York 10004
                                                  Telephone: (212) 837–6000
                                                  Facsimile: (212) 422–4726

                                                  - and -




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                                           HERBERT SMITH LLP
                                           Gary Milner-MooreJohn Whiteoak
                                           James Norris-JonesExchange House
                                           Primrose Street
                                           London
                                           EC2A 2HS

                                           Counsel for the Joint Administrators




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